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UNITED STATES DISTRICT COURT

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EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION, CIVIL_ACTION NO.
Plaintiff, COMPLAINT
Civil Rights
Vv. Employment Discrimination

JURY TRIAL DEMAND
ALLTECH, INC. a Parsons Brinckerhoff
Company

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Defendant.

NATURE OF THE ACTION

This is an action under Title VI of the Civil Rights Act of 1964 and Title I of the Civil
| Rights Act of 1991 to correct unlawful employment practices on the basis of sex and to provide
appropriate relief to Che Presant who was adversely affected by such practices. As alleged
below, defendant, Alltech Inc. subjected Ms. Presant to a sexually hostile work environment

because of her sex, female.

JURISDICTION AND VENUE

| 1, Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§451, 1331, 1337,
1343, and 1343. This action is authorized and instituted pursuant to Sections 706(f)(1) of Title
VU of the Civil Rights Act of 1964, as amended (Title VID, 42 U.S.C. §2000e-5(f)(1), and

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Section 102 of the Civil Rights Act of 1991, 42 U.S.C. §1981a.

Be The employment practices alleged to be unlawful were and are now being
committed within Alameda County which is within the jurisdiction of the United States District
Court for the Northern District of California.

INTRADISTRICT ASSIGNMENT

3. This case 1s appropriate for assignment to Oakland because the unlawful

employment practices alleged were and are being committed within Alameda County.

4. Plaintiff, the Equal Employment Opportunity Commission (“EEOC”), is the

agency of the United States of America charged with the administration, interpretation, and

enforcement of Title VII and is expressly authorized to bring this action by Sections 706(f(1)
and (3) of Title VI, 42 U.S.C. §2000e-5(f)(1) and (3).

5. At all relevant times, Defendant, Alltech, Inc.(“Alltech” or “Defendant

Employer”), has continuously been doing business in the State of California and the City of

Oakland and has continuously had at least fifteen employees.

6. Atall relevant times, Defendant Employer has continuously been an employer
engaged in an industry affecting commerce within the meaning of Section 701(b), (2), and (h)
of Title VU, 42 U.S.C. §2000e-(b), (g), and (h).

STATEMENT GF CLAIMS

Fe More than thirty days prior to the institution of this lawsuit, Che Presant filed a
charge of discrimination with the EEOC alleging violations of Title VII by Defendant
Employer. All conditions precedent to the institution of this lawsuit have been fulfilled.

8. Since at least January 2002, Defendant Employer has engaged in unlawful
practices its Oakland, California job site in violation of Section 703(a)(1) of Title VI, 42
U.S.C. §2000e-2(a). These practices include subjecting Ms. Presant to sexual harassment and
to an offensive, abusive, intimidating and hostile work environment.

9, The effect of the practices complained of above has been to deprive Ms. Presant

of equal employment opportunities and otherwise to adversely affect his status as an employee

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because of her sex, female.

10, The unlawful employment practices complained of above were and are
intentional.
11. The unlawful employment practices complained of above were and are done

with malice and/or reckless disregard for Ms. Presant's federally protected rights.
PRAYER FOR RELIEF

WHEREFORE, the Commission respectfully requests that this Court:

A. Grant a permanent injunction enjoining Defendant Employer, its officers,
successors, assigns, and all persons in active concert or participation with it, from engaging in
sexual harassment, sex-based harassment, sex discrimination and any other employment
practice which discriminates on the basis of sex.

B. Order Defendant Employer to institute and carry out policies, practices, and
programs which provide equal employment opportunities for female employees and which
eradicate the effects of its past and present unlawful employment practices.

Cc. Order Defendant Employer to make whole Ms. Presant by providing
compensation for past and future pecuniary losses resulting from the unlawful employment
practices described above, including medical expenses, with interest, in amounts to be
determined at trial.

D, Order Defendant Employer to make whole Ms. Presant by providing
compensation for past and future non-pecuniary losses caused by the above unlawful conduct,
| including pain and suffering, emotional distress, indignity, loss of enjoyment of life, loss of
self-esteem, and humiliation, in amounts to be determined at trial.

Ei, Order Defendant Employer to pay Ms. Presant punitive damages for its

malicious and reckless conduct described above, in amounts to be determined at trial.

Ee Grant such further relief as the Court deems proper.
G. Award the Commission its costs in this action.
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JURY TRIAL DEMAND

The Commission requests a jury trial on all questions of fact raised by its complaint.

| Dated: ql
| Dated. 11231 04

| Dated: 725 UY

Complaint

Respectfully submitted,

ERIC DREIBAND
General Counsel

EQUAL EMPLOYMENT

OPPORTUNITY COMMISSION
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Semor Trial Attorney

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